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                                     UNITED STATES BANKRUPTCY
                                    COURT DISTRICT OF NEW JERSEY


                          FEE APPLICATION COVER SHEET FOR THE PERIOD
                                 MAY 1, 2022 THROUGH MAY 31, 2022


  Debtor:           LTL Management LLC                       Applicant:         Sherman Silverstein

  Case No.:         21-30589 (MBK)                           Client:            TCC II

  Chapter:          11                                       Case Filed:        October 14, 2021



                                               SECTION 1
                                             FEE SUMMARY

  X Interim Fee Application No.      5 or ☐ Final Fee Application

  Summary of Amounts Requested for the Period from May 1, 2022 through May 31, 2022

  Total Fees:                                                         $   5,565.00
  Total Disbursements:                                                $   954.50
  Minus 20% holdback of Fees:                                         $   1,113.00
  Amount Sought at this Time:                                         $   5,406.50


  NAME OF PROFESSIONAL                        YEAR ADMITTED                 HOURS        RATE           FEE
  & TITLE                                     (Or Years Of
                                              Professional Service)

                                                      1972                    .70        800.00        560.00
  1. Arthur Abramowitz, Partner
  2. Ross J. Switkes, Counsel                         2010                    9.10       550.00       5,005.00


            Fee Totals:                          $ 5,565.00
            Disbursements Totals:                $ 954.50
            Total Fee Application:               $ 6,519.50
            Amount Sought at this Time:          $ 5,406.50




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                                             SECTION II SUMMARY
                                                OF SERVICES


  SERVICES RENDERED                                                                    HOURS   FEE
  a) Asset Analysis and Recovery:
      Identification and review of potential assets including causes of action and
      non-litigation recoveries.
  b) Asset Disposition
      Sales, leases, abandonment and related transaction work.
  c) Avoidance Action Litigation
      Preference and fraudulent transfer litigation.
  d) Business Operations
      Issues related to debtor-in-possession operating in chapter 11 such as
      employee, vendor, tenant issues and other similar problems.
  e) Case Administration                                                                1.60    880.00
      Coordination and compliance activities, including preparation of statement of
      financial affairs, schedules, list of contracts, United States Trustee interim
      statements and operating reports; contacts with the United States Trustee;
      general creditor inquires.
  f) Claims Administration and Objections
      Specific claim inquiries; bar date motions; analyses, objections and allowance
      of claims.
  g) Employee Benefits/Pensions
      Review issues such as severance, retention, 401K coverage and continuance
      of pension plan.
  h) Fee/Employment Applications                                                        8.20   4,685.00
      Preparations of employment and fee applications for self or others; motions to
      Establish interim procedures.
  i) Fee/Employment Objections
      Review of an objections to the employment and fee applications of others.
  j) Financing
      Matters under 361, 363 and 364 including cash collateral and secured clams;
      loan document analysis.
  k) Litigation
      Other than Avoidance Action Litigation (there should be a separate category
      established for each major matter).
  l) Meetings of Creditors
      Preparing for and attending the conference of creditors, the 341(a) meeting
      and other creditors’ committee meetings.
  m) Plan and Disclosure Statement
      Formulation, presentation and confirmation; compliance with the plan
      confirmation order, related orders and rules; disbursement and case closing
      activities, except those related to allowance and objections to allowance of
      claims.


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  SERVICES RENDERED                                                                    HOURS   FEE
  n) Relief from Stay Proceedings
      Matters relating to termination or continuation of automatic stay under 362.
  o) Accounting/Auditing
      Activities related to maintaining and auditing books of account, preparation
      of financial statements and account analysis.
  p) Business Analysis
      Preparation and review of company business plan; development and review of
      strategies; preparation and review of cash flow forecasts and feasibility
      studies.
  q) Corporate Finance
      Review financial aspects of potential mergers, acquisitions and disposition of
      company or subsidiaries.
  r) Data Analysis
      Management information systems review, installation and analysis,
      construction, maintenance and reporting of significant case financial data,
      lease rejection, claims, etc.
  s) Litigation Consulting
      Providing consulting and expert witness services related to various
      bankruptcy matters such as insolvency, feasibility, avoiding actions; forensic
      accounting, etc.
  t) Reconstruction Accounting
      Reconstructing books and records from past transactions and brining
      accounting current.
  u) Tax Issues
      Analysis of tax issues and preparation of state and federal tax returns.
  v) Valuation
      Appraise or review appraisals of assets.
  w) Travel Time
  SERVICE TOTALS:                                                                       9.80   5,565.00




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                                                 SECTION III
                                           SUMMARY OF DISBURSEMENTS

    DISBURSEMENTS                                                                             AMOUNT

    a)   Filing Fees
            Payable to Clerk of Court.

    b)   Computer Assisted Legal Research
            Westlaw, Lexis and a description of manner calculated.
                                                                                                 664.50
    c)   Pacer Fees
            Payable to the Pacer Service Center for search and/or print.

    d)   Fax
            Include per page fee charged.

    e)   Case Specific Telephone/Conference Call Charges
            Exclusive of overhead charges.

    f)      In-house Reproduction Services
            Exclusive of overhead charges.

    g)   Outside Reproduction Services
            Including scanning services.

    h)   Other Research
            Title searches, UCC searches, Asset searches, Accurint.

    i)   Court Reporting
            Transcripts.

    j)   Travel
            Mileage, tolls, airfare, parking.

    k)   Courier & Express Carriers
            Overnight and personal delivery.

    l)   Postage
                                                                                                 290.00
    m) Other (specify) Other Professionals – legal noticing

    DISBURSEMENTS TOTAL:
                                                                                                 954.50



 I certify under penalty of perjury that the above is true.

 Date: June 15, 2022                                                       /s/ Arthur J. Abramowitz
                                                                           ARTHUR J. ABRAMOWITZ




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